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                                                    UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF SOUTH CAROLINA

IN RE:                                                                          CASE NO: 14-02169-jw
                                                                                CHAPTER 13
Lehr, David Ashley
Last Four Digits of SSN: 5785                                                   NOTICE    OF   PLAN    MODIFICATION    BEFORE
Lehr, Laura Ann                                                                 CONFIRMATION, MOTIONS TO
f/k/a Laura Ann Sheldon                                                         VALUE SECURITY, AVOID JUDICIAL LIEN,
Last Four Digits of SSN: 3453                                                   AVOID A NONPURCHASE-MONEY, NON-
                                                                                POSSESSORY SECURITY INTEREST AND LIEN,
                                                                                AND / OR TO ASSUME OR REJECT AN
                                                                                EXECUTORY CONTRACT/UNEXPIRED LEASE
                                                             DEBTOR(S)

        I. NOTICE TO AFFECTED CREDITORS AND PARTIES IN INTEREST: The above captioned debtor 1 previously
         proposed a chapter 13 plan and motions; debtor now moves, pursuant to 11 U.S.C. §1323 and Fed. R. Bankr. P.2002(a)(5),
         to modify the proposed plan and motions as detailed below:

              To accommodate the claim of WS Badcock

        This modification to the chapter 13 plan and motions, and the remaining terms of the chapter 13 plan and motions set forth
        below, may affect your rights. Failure to object may constitute an implied acceptance of and consent to the relief requested.

          A. ADDITIONS, MODIFICATIONS, OR DELETIONS: All additions or modifications to the Courts form plan (See
exhibits to SC LBR 3015-1 and 3015-2, SC LBR refers to the SC Local Bankruptcy Rules, available at www.scb.uscourts.gov)
are highlighted by italics. Deletions are noted as Not Applicable or by striking through the deleted provisions. If changes are
substantial or if an alternative plan is proposed, a cover sheet that summarizes and identifies the changes shall be filed and served
herewith.

          B. DEADLINE FOR FILING OBJECTIONS, NOTICE OF HEARING ON CONFIRMATION OF CHAPTER 13
PLAN AND MOTIONS: Objections to the motions and any provision of the plan must be made in accordance with SC LBR
9014-1, properly served, and filed with the United States Bankruptcy Court, 1100 Laurel Street, Columbia, SC 29201, within
twenty-eight (28) days from the date this document is served. Timely objections will be heard at the confirmation hearing, notice
of which is given separately in the Notice of Meeting of Creditors. If a timely objection is filed after the confirmation hearing, a
separate hearing on the objection will be scheduled and notice of such a hearing will be given. If no timely objection is filed, the
Court, upon recommendation of the chapter 13 trustee and without further hearing or notice, may enter an order confirming the
plan and granting the motions.

II. MOTION TO VALUE SECURITY, AVOID JUDICIAL LIEN, AVOID A NONPURCHASEMONEY,
NONPOSSESSORY SECURITY INTEREST AND LIEN, AND/OR TO ASSUME OR REJECT AN EXECUTORY
CONTRACT/UNEXPIRED LEASE. The debtor requests that confirmation of this plan alter the rights of the following
creditor:

         A. Nonpossessory, Nonpurchase-Money Lien: The debtor moves, pursuant to 11 U.S.C. § 522(f), to avoid the
following nonpossessory, nonpurchase-money security interest and lien in household goods:


 Name of creditor and       Value of     Total of                                      Estimated            Security interest        Security interest
description of property Debtors interest all other Exemption                             security           Not avoided (see        to be avoided (see
     securing lien        in property      liens                                      interest/debt         IV(B)(4) below)            IV(E) below)
NONE

              B. Judicial Lien: The debtor moves, pursuant to 11 U.S.C. § 522(f), to avoid the following judicial lien: 2




1
    When used herein, the term "debtor" shall apply as applicable either in the singular or in the plural, if there are joint debtors in the case.
2
    For co-owned property, see In re Ware, 274 B.R. 206 (Bankr. D.S.C. 2001) and Exhibit C to SC LBR 4003-2.
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Name of creditor and                                           Applicable         Value of the                   Judicial
                        Estimated         Total of all senior/                                     Judicial lien
description of property                                        Exemption and Code debtors interest               lien
                        judicial lien     unavoidable liens                                        not avoided
securing lien                                                  Section            in property                    avoided
NONE

           C. Valuation of Security: The debtor moves, in accordance with 11 U.S.C. § 506, to establish the value of a lien as
follows:


  Name of creditor and        Value of Debtors        Holder and                                             Unsecured claim after
                                                                         Estimate of Value of lien (see
 description of property         interest in           amount of                                              valuation (see IV(E)
                                                                       creditors claim IV(B)(4) below)
       securing lien              property           superior liens                                                  below)
Farmers Furniture
                                          $600.00              NONE          $1,502.00             $600.00                    $902.00
Living room furniture
Kash Savers
                                         $1,500.00             NONE          $4,000.00           $1,500.00                  $2,500.00
2002 Chevrolet Cavalier



           D. Assumption or Rejection of Executory Contract/Unexpired Lease: The debtor moves for the assumption of the
following executory contract and/or unexpired lease. The debtor agrees to abide by all terms of the agreement and to cure any
pre-petition arrearage or default in the manner below. Any executory contract or unexpired lease not specifically mentioned is
rejected.


Name of Creditor and         Amount          Estimated amount       Cure Provisions for any      Regular payments to be paid by
lease or contract to be     of regular       of Default (state if   default paid by (Debtor        Debtor directly to creditor
       assumed               payment               none)                  or trustee)               beginning (month/year)




III. THE CHAPTER 13 PLAN: PAYMENT OBLIGATIONS OF THE DEBTOR.

           A. Payments from the debtor to the chapter 13 trustee (the trustee): The debtor submits to the supervision and control of
the trustee all or such portion of future earnings or other future income as is necessary for the execution of the plan. In addition,
the debtor will pay to the trustee any portion of a recovery under a pre-petition claim or cause of action that constitutes disposable
income or is not exempt.

          The debtor shall pay to the trustee the sum of $620.00 per month for a period of FIFTY NINE (59) months, unless all
allowed claims (other than long-term claims) are fully paid pursuant to the plan.

           B. Payments from the debtor directly to creditors: The debtor shall pay all post-petition priority obligations, including
but not limited to taxes and post-petition domestic support, and pay regular payments on assumed executory contracts or leases,
directly to the holder of the claim as the obligations come due, unless otherwise ordered by the Court. The debtor may be
required to pay some or a portion of pre-petition debts directly to a creditor in addition to required payments to the trustee, as
indicated in paragraph II(D) above and/or in the paragraphs that follow.

IV. PLAN DISTRIBUTIONS TO CREDITORS. To receive a distribution from the trustee, a proof of claim, including
adequate supporting documentation, must be filed with the Court. If a claim designated in this plan as secured is filed as an
unsecured claim and the plan is confirmed, the claim may be treated as unsecured for purposes of plan distributions by the
trustee. If a creditor files a proof of claim alleging that the claim is secured, but does not timely object to the confirmation of the
plan and the claim is treated as unsecured in a confirmed plan, the claim may be treated as unsecured for purposes of plan
distributions by the trustee. Confirmation of this plan does not bar a party in interest from objecting to a claim. The trustee, after
the deduction of the trustee's commission and expenses, or the debtor, as indicated, shall make payments as follows:

           A. Attorney for the debtor:

                     1. The debtor and the debtors attorney have agreed to an attorneys fee in the amount of $3,500.00 for the
services identified in the Rule 2016(b) disclosure statement filed in this case. The amount of $0 was paid prior to the filing of the
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case. The remaining fee shall be disbursed by the trustee as follows: Following confirmation of the plan and unless the Court
orders otherwise, the trustee shall disburse $1,000.00 to the attorney from the initial disbursement. 3 Thereafter, the balance of the
attorneys compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining each month after
payment of allowed secured claims and pre-petition arrearages on domestic support obligations. In instances where an attorney
assumes representation in a pending pro se case and a plan is confirmed, a separate order may be entered by the Court, without
further notice, which allows for the payment of a portion of the attorneys fees in advance of payments to creditors.

                     2. If, as an alternative to the above treatment, the debtors attorney has received a retainer and cost advance
and agreed to file fee applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost
advance shall be held in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case,
the attorney has received $_N/A_____ and for plan confirmation purposes only, the fees and expenses of counsel are estimated at
$__N/A_____ or less.

           B. Secured Creditor Claims: The plan treats secured claims as follows:

                      1. General Provisions: The terms of the debtors pre-petition agreement with a secured creditor shall continue
to apply except as modified by this plan, the order confirming the plan, or other order of the Court. Holders of secured claims
shall retain liens to the extent provided by 11 U.S.C. § 1325(a)(5)(B)(i). Secured creditors paid the full secured claim provided
for by this plan shall timely satisfy any liens in the manner required by applicable law or order of this Court. Any creditor
holding a claim secured by property that is removed from the protection of the automatic stay by order, surrender, or through
operation of the plan will receive no further distribution from the chapter 13 trustee on account of any secured claim. This also
applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the automatic stay by
another lienholder or released to another lienholder, unless the Court orders otherwise. Any funds that would have been paid to
any such creditor will be distributed according to the remaining terms of the plan. (The preceding language does not apply if the
sole reason for its application arises under 11 U.S.C. § 362(c)(3) or (c)(4)). Any creditor affected by this provision may file an
itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the property from the
protection of the automatic stay. Secured creditors that will be paid directly by the debtor may send standard payment and escrow
notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

                    2. Long-term or mortgage debt. No default: The debtor is current on obligations to (creditor name) and will
continue regular payments directly to that creditor. Description of collateral: NONE

                       3. Long term or mortgage debt. Curing default: 11 U.S.C. 1322(b)(3) and/or (5): NONE

                              a. Arrearage payments. The trustee shall pay the arrearage as stated in the creditors allowed claim
or as otherwise ordered by the Court to (creditor name) at the rate of $ (payment amount) or more per month, for (collateral
description), along with (percentage)% interest. The creditor shall apply trustee payments solely to those designated arrearages,
i.e., those arrearages accruing before the month specified in (b) below. For so long as the debtor complies with this plan, a
creditor may not declare a default based on any payment delinquency to be cured by this paragraph and the creditor shall not
impose any post-petition fee on account of any arrearage paid by the trustee.

                              b. Maintenance of regular non-arrearage payments. Beginning (month and year), the Debtor shall
pay directly to the creditor non-arrearage payments arising under the agreement with the secured creditor. The creditor shall
apply each payment under this paragraph solely to post-petition obligations that accrue during or after the month specified herein.

                       4. Secured portion of claims altered by valuation and lien avoidance:

          The trustee shall pay Farmers Furniture, secured by living room furniture, the sum of $12.00 or more per month, along
with 5.25% interest until the secured claim of $600.00 established above is paid in full. The remaining portion of the allowed
claim will be treated as a general unsecured claim.




3
  The chapter 13 trustee shall not at any time disburse to the debtor’s attorney more than: (a) the unpaid balance of (1) the fee to be paid under the
plan pursuant to paragraph 1 herein, or (2) the fee previously applied for and authorized pursuant to paragraph 2 herein, plus (b) any supplemental
fee then applied for and authorized under the terms of the applicable Procedures for Approval of Attorney’s Fees in Chapter 13 Cases.
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          The trustee shall pay Kash Savers, secured by 2002 Chevrolet Cavalier, the sum of $30.00 or more per month, along
with 5.25% interest until the secured claim of $1,500.00 established above is paid in full. The remaining portion of the allowed
claim will be treated as a general unsecured claim.

                    5. Other secured debts (allowed claim to be paid in full without valuation or avoidance of lien):

           The trustee shall pay WS Badcock, secured by furniture, the sum of $48.00 or more per month, along with 5.25%
interest until the allowed secured claim is paid in full

         The trustee shall pay Santander, secured by 2006 Nissan Altima, the sum of $274.00 or more per month, along with
5.25% interest until the allowed secured claim is paid in full.

           The trustee shall pay Trent Enoch, secured by landlord lien, the sum of $56.00 or more per month, along with no
interest (contractual) until the allowed secured claim is paid in full.

                     6. Surrender of property: The debtor will surrender the following property upon confirmation of the plan.
The order confirming plan shall terminate the automatic stay as to that property: (Name of creditor and property address or
collateral description). Any creditor affected by this provision may file an itemized proof of claim for any unsecured deficiency
within a reasonable time after the surrender of the property. NONE

                      7. Secured tax debt: The trustee shall pay (creditor name) the sum of $ (payment amount) or more per month
until the (net balance or value) of creditors secured claim plus (percentage) % interest has been paid. If the lien is to be valued,
the debtor shall file a separate motion to value the claim and establish priority of any remaining tax obligations. If a tax priority
creditor files a claim designated as secured, is not treated as secured in this paragraph, and does not timely object to confirmation
of this plan, then the claim may be paid as a priority claim for purposes of distributions from the trustee. NONE

          C. Priority Creditors: Priority claims shall be paid as follows: NONE

                    1. Domestic Support Claims. 11 U.S.C. § 507(a)(1):

                            a. Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation
arrearage to (name of DSO creditor), at the rate of $ (amount) or more per month until the balance,without interest, is paid in full.

                             b. The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. §
101(14A) on a timely basis directly to the creditor.

                               c. Any party entitled to collect child support or alimony under applicable non-bankruptcy law may
collect those obligations coming due after this case was filed from the income or assets of the debtor-parent/spouse without
further order or relief from the automatic stay. (Any claim for child support or alimony due before this case was filed must be
collected in accordance with 11 U.S.C. § 507(a)(1) and 11 U.S.C. § 1322(a)(2).)

                   2. Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507 priority claims on a
pro rata basis. NONE

          D. Executory Contracts and Unexpired Leases: Regular payments that arise post-petition under an executory contract or
lease that is being assumed shall be paid directly by the debtor according to the terms of the contract or lease. Pre-petition
defaults will be cured by payments of the sum of $ (payment amount) or more per month by the trustee or the debtor according to
paragraph II(D). Claims arising from the rejection of executory contracts or leases shall be general unsecured claims unless
otherwise ordered by the Court. N/A

          E. General Unsecured Creditors: General unsecured creditors shall be paid allowed claims pro rata by the trustee to the
extent that funds are available after payment of all other allowed claims. The debtor does not propose to pay 100% of general
unsecured claims.

V. PROPERTY OF THE ESTATE, STATUS AND OBLIGATIONS OF THE DEBTOR AFTER CONFIRMATION:
Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate
shall remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of
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the estate. The debtor is responsible for protecting the non-exempt value of all property of the estate and for protecting the estate
from any liability resulting from operation of a business by the debtor. Nothing herein is intended to waive or affect adversely
any rights of the debtor, the trustee, or party with respect to any causes of action owned by the debtor.




                                                                           /s/ Elizabeth M. Atkins
            Charleston, South Carolina                                        Elizabeth M. Atkins, Esquire D.C.I.D. 4436
            Dated: May 27, 2014                                               Attorney for Debtors
                                                                              778 St. Andrews Blvd.
                                                                              Charleston, SC 29407
                                                                              Telephone: (843) 763-0333




                                                         CERTIFICATE OF SERVICE

The above signing parties certify that the foregoing Notice, Plan and Motions was served on all creditors and parties in interest entitled to such
notice on the above stated date. The list of the specific names and addresses of parties served with the plan is attached to the plan filed with the
Court.
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                              INDIVIDUALS SERVED


James M. Wyman, Chapter 13 Trustee
Via CM/ECF electronic transmission

WS Badcock Corporation
Attorney or Manager
PO Box 232
Mulberry, FL 33860
